  Case 2:21-cv-07885-GW-GJS Document 19 Filed 02/11/22 Page 1 of 6 Page ID #:147


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-7885-GW-GJSx                                              Date     February 11, 2022
 Title             Eric Cleveland v. Tri Ung, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                              None Present
                 Deputy Clerk                          Court Reporter / Recorder                  Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                         None Present                                           None Present
 PROCEEDINGS:                IN CHAMBERS - TENTATIVE RULING ON DEFENDANTS' MOTION
                             TO DISMISS PURSUANT TO FRCP 12(b)(1) [14]


Attached hereto is the Court’s Tentative Ruling on Defendants’ Motion to Dismiss [14], set for hearing
on February 14, 2022 at 8:30 a.m.




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                                                                Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                   Page 1 of 1
Case 2:21-cv-07885-GW-GJS Document 19 Filed 02/11/22 Page 2 of 6 Page ID #:148




 Eric Cleveland v. Tri Ung and Nany Teav; Case No. 2:21-cv-07885-GW-(GJSx)
 Tentative Ruling on Motion to Dismiss Pursuant to FRCP 12(b)(1)


 I.     Background
        Plaintiff Eric Cleveland sued Defendants Tri Ung and Nany Teav for violations of the
 Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq., and the Unruh
 Civil Rights Act (“Unruh Act”), Cal. Civ. Code § 51 et seq. related to alleged accessibility
 barriers at the business establishment on Defendants’ property.          See generally Complaint
 (“Compl.”), Docket No. 1.
        Plaintiff alleges the following: Plaintiff suffers from osteoarthritis in his hip and knees,
 uses a cane, and has been issued a blue Disabled Person Parking Placard by the State of
 California. Compl. at ¶ 1. Defendants own the property located at 2569 Santa Fe Avenue, Long
 Beach, California, 90810. Id. ¶ 2. There is a business establishment on this property, which is a
 place of public accommodation and is named “A & F Market.” Id. ¶¶ 3-4. Plaintiff visited this
 property in March 2020, June 2020, and January 2021 and encountered barriers that interfered
 with Plaintiff’s ability to access this place of public accommodation. Id. ¶¶ 13, 15. Specifically,
 Plaintiff states that the parking spaces designated for disabled persons did not comply with the
 ADA because (1) the disabled parking space has missing signage, uneven asphalt, slopes, and
 incorrect space dimensions; (2) there is no marked path of travel from the access aisle to the
 business entrance/sidewalk; (3) the paths of travel have “many pavement distresses and slopes”;
 (4) the ground at the business entrances is broken; and (5) the shopping aisles inside the business
 are too narrow. Id. ¶ 20. The presence of these barriers and conditions existed during Plaintiff’s
 prior visits, and although Plaintiff intends and plans to visit the property again soon, he is
 reasonably deterred currently from returning by the existing barriers. Id. ¶¶ 23, 25. Plaintiff also
 asserts that Defendant has the financial resources to remove these barriers, which Plaintiff states
 is readily achievable. Id. ¶ 27.
        Plaintiff filed the present case in federal court, seeking injunctive relief under the ADA,
 damages under the Unruh Act, and attorney fees and costs. See generally id. Defendants now
 file a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1), arguing that
 Plaintiff’s claims are moot and that Plaintiff has not adequately pleaded the existence of Article
 III standing with an injury-in-fact. See Defendants’ Motion to Dismiss Pursuant to FRCP



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Case 2:21-cv-07885-GW-GJS Document 19 Filed 02/11/22 Page 3 of 6 Page ID #:149




 12(b)(1) (“Motion”), Docket No. 14. Plaintiff filed an Opposition Brief (“Opp.”), Docket No.
 16, and Defendants filed a Reply, see Docket No. 17.
 II.     Legal Standard
         Federal Rule of Civil Procedure 12(b)(1) permits a party to seek dismissal of an action
 for lack of subject-matter jurisdiction “either on the face of the pleadings or by presenting
 extrinsic evidence.” Warren v. Fox Fam. Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003);
 see also Bedwell v. TBLB Enterprises LLC, No. 21-EDCV-1340-JGB-(SPx), 2021 WL 5364774,
 at *2 (C.D. Cal. Oct. 29, 2021). The first is a facial attack, in which the “challenger asserts that
 the allegations contained in a complaint are insufficient on their face to invoke federal
 jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). The second
 is a factual attack, in which the “challenger disputes the truth of the allegations that, by
 themselves, would otherwise invoke federal jurisdiction.”          Id.   In examining a factual
 jurisdictional attack, the “district court may review evidence beyond the complaint without
 converting the motion to dismiss into a motion for summary judgment,” including affidavits
 furnished by the parties, and “need not presume the truthfulness of the plaintiff’s allegations.”
 Id. “Once the moving party has converted the motion to dismiss into a factual motion by
 presenting affidavits or other evidence properly brought before the court, the party opposing the
 motion must furnish affidavits or other evidence necessary to satisfy its burden of establishing
 subject matter jurisdiction.” Id. (quoting Savage v. Glendale Union High Sch., Dist. No. 205,
 Maricopa Cty., 343 F.3d 1036, 1040 (9th Cir. 2003); internal quotation marks omitted). A
 “jurisdictional finding of genuinely disputed facts is inappropriate when ‘the jurisdictional issue
 and substantive issues are so intertwined that the question of jurisdiction is dependent on the
 resolution of factual issues going to the merits’ of an action.” Safe Air, 373 F.3d at 1039
 (quoting Sun Valley Gasoline, Inc. v. Ernst Enterprises, Inc., 711 F.2d 138, 139 (9th Cir. 1983);
 see also Acevedo v. C & S Plaza Ltd. Liab. Co., No. 20-56318, 2021 WL 4938124, at *2 (9th
 Cir. Oct. 22, 2021) (noting that the ADA provides both federal subject matter jurisdiction and a
 basis for a claim for relief).
 III.    Discussion
         A. Supplemental Jurisdiction
         Defendants ask the Court to decline exercising supplemental jurisdiction over Plaintiff’s
 Unruh Act claim. See Motion at 17-20. The Court has already determined that Plaintiff is a



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Case 2:21-cv-07885-GW-GJS Document 19 Filed 02/11/22 Page 4 of 6 Page ID #:150




 “high-frequency litigant” as defined in Cal. Civ. Proc. Code § 425.55(b)(1) in a nearly identical
 ADA/Unruh Act case filed by Plaintiff in this Court: i.e. Eric Cleveland v. Isela Briseno, et al.,
 Case No. 2:21-cv-06874-GW-(AFMx), see Order, Statement of Reasons for Declination of the
 Exercise of Supplemental Jurisdiction as to Unruh Act Claim, Docket No. 17 in the Briseno case.
 The Court hereby incorporates that Order by reference and declines to exercise supplemental
 jurisdiction over Plaintiff’s Unruh Act cause of action in this case for the reasons stated therein.
          B. Mootness
          “Mootness is a jurisdictional defect that can be raised at any time by the parties or the
 court sua sponte.” Bedwell, 2021 WL 5364774, at *5 (quoting Lopez v. Garcia Apartments,
 LLC, 2014 WL 12696711, at *3 (C.D. Cal. Dec. 19, 2014); internal quotation marks omitted).
 “A case is moot when the issues presented are no longer live or the parties lack a legally
 cognizable interest in the outcome.” Id. (quotation omitted). “Because a private plaintiff can sue
 only for injunctive relief (i.e., for removal of the barrier) under the ADA, . . . a defendant’s
 voluntary removal of alleged barriers prior to trial can have the effect of mooting a plaintiff’s
 ADA claim.” Oliver v. Ralphs Grocery Co., 654 F.3d 903, 905 (9th Cir. 2011); see also Langer
 v. Manuele, No. 18-CV-00104-BEN-NLS, 2018 WL 3019946, at *1 (S.D. Cal. June 18, 2018).
 The party claiming mootness carries the burden of demonstrating the case is moot. See Bedwell,
 2021 WL 5364774, at *5.1
          Here, Defendants contend that the Court lacks subject-matter jurisdiction because the
 statutory violations Plaintiff alleges are moot due to the fact that the alleged barriers were
 actually ADA-compliant or were rendered so after the lawsuit was filed. See Motion at 4-10. In
 support, Defendants have filed a declaration from Jason James, a California state Certified
 Access Specialist (“CASp”) and Class 1 Commercial Building Inspector. See Motion, Decl. of
 Jason James (“James Decl.”), Docket No. 14-2. James concluded that the conditions described
 by Plaintiff in his Complaint are all ADA-compliant, with the exception of one condition, for
 which reasonable accommodation has been provided. Specifically, Defendants provide evidence

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             The Court may properly consider the evidence supplied by Defendants in support of the Motion. While it
 is generally true that where the merits of the case and the jurisdictional issue are intertwined, jurisdictional findings
 of fact are inappropriate, fact-finding for mootness requires the Court to look to the state of the claim as it is now. In
 other words, there is no entanglement between the merits of Plaintiff’s ADA claim – which relate to the state of the
 subject property during his visits in March 2020, June 2020, and January 2021 – and the substance of the mootness
 question, namely, whether the conditions at the subject property currently might require injunctive relief under the
 ADA. See Lange, at *3. Thus, the Court can properly consider the evidence proffered by Defendants. See Motion,
 Decl. of Jason James, Docket No. 14-2.



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Case 2:21-cv-07885-GW-GJS Document 19 Filed 02/11/22 Page 5 of 6 Page ID #:151




 from James that the following conditions/barrier alleged by Plaintiff were compliant and/or
 reasonably accommodated:
           Directional Signage: With only one entrance available to the public, § 216.6 of the
              ADA does not require Defendants to have signage at the entrance, and the
              accessible routes are equal and/or readily apparent. James Decl. ¶¶ 9-16.
           Accessible Parking Space: The parking space meets the minimum dimension
              requirements and has cross slopes of no greater than 2 percent. The space is
              freshly and properly painted. The surface of the parking space is “freshly poured”
              and has no uneven locations or other distresses. Id. ¶¶ 19-25.
           Accessible Parking Space Signage: There is a sign at the head of the parking space
              that is at the proper position, is not obscured, and has the requisite symbols and
              text. Id. ¶¶ 26-29.
           Access Aisle: The access aisle to the right of the parking space is the proper size, has
              cross slopes no greater than 2 percent, is freshly poured and lacks uneven or
              distressed areas, and is properly painting with a blue border, diagonal lines, and
              “NO PARKING” lettering. The head of the access aisle has a transition to an
              accessible path of travel leading to the public sidewalk. Id. ¶¶ 30-36.
           Path of Travel from the Access Aisle to the Public Sidewalk: This path is freshly
              poured, has no uneven or distressed locations, and begins at the head of the access
              aisle closest to the exterior side wall of the business.         The path takes an
              appropriate path to the sidewalk, is not less than 4 feet wide at its narrowest point,
              has slopes no greater than 5 percent and cross slopes no greater than 2 percent,
              has slopes no greater than 2 percent at any turning point, and is distinctly striped.
              Id. ¶¶ 37-45.
           Path of Travel from the Public Sidewalk to the Entrance of the Building:
              Because of (1) the structure of the building’s foundation, (2) the adjacent portions
              of the walls to the left and right of the doors, (3) the change in elevation from the
              entry to the public sidewalk, and (4) the slope of the existing pathway, a ramp is
              not feasible because to maintain a running slope of no greater than 1:20, it would
              need to be at least 12 feet long and would intrude into the sidewalk. There are no
              technically feasible solutions for this problem. Id. ¶¶ 46-53. Thus, Defendants



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Case 2:21-cv-07885-GW-GJS Document 19 Filed 02/11/22 Page 6 of 6 Page ID #:152




                  have a sign and buzzer “to easily allow a person requiring assistance to notify
                  employees of the business who could then open the door and assist the patron into
                  the store.” Id. ¶ 54. This sign is “prominently posted and would have been easily
                  recognized as addressing any perceived barriers at the entrance by even the most
                  casual observer.” Id. ¶ 55. James concludes that the sign and buzzer “represent a
                  reasonable accommodation.” Id. ¶ 57.
              Carpet/Mat: There are no carpets or mats present and thus no violation. Id. ¶¶ 58-
                  59.
              Clear Floor Space/Interior Aisle Accessibility: All aisles were 36 inches wide
                  “except where narrowed to no less than 32 inches for no greater length than 24
                  inches,” and “no narrowed portions were closer than 48 inches to one another. Id.
                  ¶¶ 60-64.
           Accompanying evidence and photographs appear to confirm James’s findings.                         See
 generally James Decl., Ex. 1, CASp Report. In his opposition briefing, Plaintiff has not provided
 any evidence that the Court continues to retain subject-matter jurisdiction – that is, that any
 barriers remain, the removal/mitigation of which is readily achievable. Thus, the Court would
 find that Defendants have met their burden in demonstrating that Plaintiff’s ADA claim is moot.
 Cf. Bedwell, 2021 WL 5364774, at *5 (concluding that Defendant’s proffered evidence
 sufficiently supported a motion to dismiss for mootness, particularly where Plaintiff had not
 provided any evidence to the contrary), Langer, 2018 WL 3019946, at *2 (same), Dalfio v.
 Orlansky-Wax, LLC, No. 21-CV-1136-DMS-(JLBx), 2021 WL 5761510, at *2 (S.D. Cal. Dec. 3,
 2021) (same, and pointing out that “as the party opposing the motion, Plaintiff ‘has the burden of
 proving that subject matter jurisdiction does exist, and must present any necessary evidence to
 satisfy this burden’” (quoting Johnson v. Oishi, 362 F. Supp. 3d 843, 847 (E.D. Cal. 2019)).
 Because the Court lacks subject-matter jurisdiction, it would accordingly dismiss the ADA
 claim.2
 IV.       Conclusion
           Based on the foregoing discussion, the Court would GRANT the motion to dismiss for
 lack of subject-matter jurisdiction as to Plaintiff’s ADA claim.

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          Due to the Court’s conclusion that the ADA claim is moot, it need not reach other theories presented by
 Defendants in the Motion as to why the Court lacks subject-matter jurisdiction.



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